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                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                    CRIMINAL MINUTE SHEET
USA v.       Donna Marie Royal                                                         Mag. Judge: Sally J. Berens

    CASE NUMBER                      DATE                  TIME (begin/end)            PLACE                      INTERPRETER


 1:21-cr-00179-JTN                  9/29/2021             1:35 PM - 1:45 PM         Grand Rapids


APPEARANCES:
Government:                                               Defendant:                                      Counsel Designation:
Clay M. West                                              Appeared w/out counsel (court to appoint)


          OFFENSE LEVEL                                  CHARGING DOCUMENT/COUNTS                           CHARGING DOCUMENT
                                                                                                          Read
Felony                                      Indictment                                                    Reading Waived

             TYPE OF HEARING                                     DOCUMENTS                                 CHANGE OF PLEA

✔   First Appearance                                 Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                     Waiver of                                 of the
         mute              nolo contendre            Consent to Mag. Judge for
                           guilty                                                              Count(s) to be dismissed at sentencing:
         not guilty
                                                     Other:
    Initial Pretrial Conference
                                                                                               Presentence Report:
    Detention         (waived   )                                                                     Ordered      Waived
    Preliminary    (waived      )                Court to Issue:                                      Plea Accepted by the Court
    Rule 5 Proceeding                               Report & Recommendation
                                                                                                      No Written Plea Agreement
    Revocation/SRV/PV                               Order of Detention
                                                    Order to file IPTC Statements
    Bond Violation                                                                                     EXPEDITED RESOLUTION
                                                    Bindover Order
    Change of Plea                               ✔ Order Appointing Counsel
                                                                                                      Case appears appropriate for
    Sentencing                                      Other:                                            expedited resolution
    Other:

                       ADDITIONAL INFORMATION                                                    SENTENCING
                                                                           Imprisonment:
                                                                           Probation:
                                                                           Supervised Release:
                                                                           Fine: $
                                                                           Restitution: $
                                                                           Special Assessment: $
                                                                           Plea Agreement Accepted:             Yes    No
                                                                           Defendant informed of right to appeal:         Yes        No
                                                                           Counsel informed of obligation to file appeal:  Yes       No


                  CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

Remanded to USM                                                        $

CASE TO BE:           Set for Hearing before Mag. Judge                TYPE OF HEARING: Arraignment/IPTC/Detention Hearing

Reporter/Recorder:          Digitally Recorded                         Courtroom Deputy:              J. Norton
